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 1                                                                  The Honorable Richard A. Jones
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 7                            UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF WASHINGTON
 8
                                          AT SEATTLE
 9
10 UNITED STATES OF AMERICA,                             No. CR18-315 RAJ
11                                    Plaintiff,         ORDER ON STATUS
                                                         CONFERENCE AND SETTING
12                           v.
                                                         TRIAL DATE AND RELATED
13 GIZACHEW WONDIE,                                      DEADLINES
14                                    Defendant.
15
16          Having considered the record, the parties’ Joint Status Memorandum, Dkt. 176, and
17 the current General Orders regarding court operations in light of the pandemic; having heard
18 from the parties; and for the reasons detailed in previous orders, see Dkt. 155, 159, 162, 171,
19 including the recommendations of the Centers for Disease Control and Prevention and Public
20 Health for Seattle and King County, as well as the reopening schedule for the United States
21 District Court for the Western District of Washington, the Court FINDS:
22          1.       Failing to grant a continuance in this proceeding would be likely make trial
23 impossible and result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(B)(i).
24          2.       Failing to grant a continuance in this case would unreasonably deny defense
25 counsel and counsel for the government the reasonable time necessary for effective
26 preparation, taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv).
27          3.       The ends of justice served by granting a continuance outweigh the best
28 interests of the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).


     Order on Status Conference and Setting Trial Date
     United States v. Wondie, CR18-315 RAJ – 1
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 1 IT IS THEREFORE ORDERED that:
 2          1.       The trial in this matter is set for April 26, 2021.
 3          2.       The additional defense motions noted in the parties’ Joint Status
 4 Memorandum, including any reply with respect to the motion for a Franks hearing filed at
 5 docket 54, is due by January 19, 2021.
 6          3.       Any government response to these defense motions, including any surreply
 7 with respect to the Franks motion, is due by February 12, 2021.
 8          4.       Any defense reply is due by February 22, 2021.
 9          5.       Oral argument and any evidentiary hearings on these motions, as well as the
10 previously filed motions, will be scheduled by the Court in consultation with counsel once
11 the briefing is completed.
12          6.       The time between the status conference held on October 20, 2020, and the trial
13 date of April 26, 2021, is excluded in computing the time within which trial must commence
14 because the ends of justice served by granting this continuance outweigh the best interest of
15 the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A). Failure to grant
16 this continuance would likely make trial impossible and result in a miscarriage of justice, and
17 would deny counsel for the defendant and government counsel the reasonable time necessary
18 for effective preparation, taking into account the exercise of due diligence. Id. § (B)(i), (iv).
19
20          DATED this 20th day of October, 2020.
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22                                                        A
23                                                        The Honorable Richard A. Jones
24                                                        United States District Judge
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     Order on Status Conference and Setting Trial Date
     United States v. Wondie, CR18-315 RAJ – 2
